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 1                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
 2                                 MIAMI DIVISION
                             CASE NO. 1:19-cv-21625-DPG
 3
       GROVE GARDEN RESIDENCES
 4     CONDOMINIUM ASSOCIATION, INC.

 5                 Plaintiff,                                        July 1, 2019
                                                                     1:28 p.m.
 6                vs.

 7     ROCKHILL INSURANCE COMPANY and
       CERTAIN UNDERWRITERS AT
 8     LLOYD'S LONDON,

 9               Defendants.                   Pages 1 THROUGH 20
       ______________________________________________________________
10

11                      TRANSCRIPT OF DISCOVERY HEARING
                   BEFORE THE HONORABLE ALICIA M. OTAZO-REYES
12                       UNITED STATES MAGISTRATE JUDGE

13

14     Appearances:

15     FOR THE PLAINTIFF:     SIEGFRIED RIVERA, PA
                              EYAL S. EISIG, ESQ.
16                            201 Alhambra Circle, 11th Floor
                              Coral Gables, Florida 33134
17

18     FOR THE DEFENDANT:     LEVY LAW GROUP
                              LAUREN D. LEVY, ESQ.
19                            3399 Ponce de Leon Boulevard, Suite 202
                              Coral Gables, Florida 33134
20

21     COURT REPORTER:        Yvette Hernandez
       REPORTED FROM          U.S. District Court
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 1          (Call to order of the Court, 1:28 p.m.)

 2                COURTROOM DEPUTY:          Grove Gardens Residences

 3     Condominium Association, Inc. v. Rockhill Insurance Company, et

 4     al, Case Number 19-21625, Civil, Gayles.

 5                Counsel, please state your appearances for the record.

 6                MR. EISIG:    Certainly.

 7                Eyal Eisig, of Siegfried Rivera, for the Plaintiff,

 8     Grove Gardens Residences Condominium Association.

 9                MS. LEVY:    Good afternoon, Your Honor.                   Lauren Levy on

10     behalf of both Defendants.

11                THE COURT:    All right.             Thank you.

12                You may be seated, except when addressing the Court.

13                I received a last-minute request to cancel this

14     hearing and then ultimately I received the Plaintiff's

15     opposition.    Given the opposition, I did not cancel the

16     hearing.    And so I have the items listed in the Notice of

17     Hearing.    They have to do with the First Request for

18     Production, privilege log, and deposition, I believe.

19                So have any of these things been resolved?                    And if

20     not, I guess we'll have to take them one at a time.                      Item 1 has

21     to do with objections to First Request for Production.

22                MR. EISIG:    Yes, Your Honor.

23                May I address that?

24                THE COURT:    Yes.

25                MR. EISIG:    So with respect to item 1, what we have

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 1     here are responses where -- aside from the first one, where the

 2     Defendant purports to say that they'll provide it, which they

 3     haven't, we have every single objection boilerplate form

 4     objections that are not allowed by this Court, with work

 5     product and attorney-client privilege to matters that are

 6     completely devoid of including that, statements taken of the

 7     Plaintiff, dates and times for inspection.

 8                We filed this complaint in February.                       It was served in

 9     March.   And they -- the Defendant themselves promised to

10     provide documents.      There was an order of the Court in May, and

11     we've never received the responsive documents.

12                We have their responses, which are completely and

13     totally improper.     They are just standard boilerplate

14     objections.    And that's why we also have an issue with failure

15     to provide any documents and any purported privilege log.                        We

16     believe those things should have waived.

17                THE COURT:    I'm sorry.             You referred to a court order?

18                MR. EISIG:    Yes.       There was an extension that the

19     Defendant requested in May, on May 2nd -- and the Court granted

20     it.   It was unopposed -- that they would be providing their

21     responses by May 16th.        And that was not done.

22                THE COURT:    I see something about response to

23     Plaintiff's complaint on May 2nd.

24                MR. EISIG:    It was for extension of time to respond to

25     both the complaint and to respond to the production of

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 1     documents.

 2                They did respond and honored the extension of time for

 3     their answer.    They responded on the 16th, but they did not

 4     provide the production.         They provided their responses on the

 5     22nd, with these improper objections.

 6                THE COURT:    All right.             So generally, what I do is I

 7     just go down the list and rule on the objections, either

 8     overrule them or sustain them.                So if you could provide me with

 9     that response and tell me which ones you want me to address.

10                MR. EISIG:    Okay.        Do you need an additional copy?

11                THE COURT:    Do I have a copy already?                    Did you submit

12     a copy to the Court?

13                MR. EISIG:    I apologize --

14                THE COURT:    I mean, if you filed it, I have -- I can

15     access it electronically if you filed it.

16                MR. EISIG:    Yes.       It was filed electronically, I

17     believe.

18                THE COURT:    It was filed in the record?

19                MR. EISIG:    There should be the Defendant's response

20     to Plaintiff's first request.

21                Is it not filed or ...

22                MS. LEVY:    We normally don't file discovery in federal

23     court.

24                MR. EISIG:   So I could provide a ...

25          (Pause in proceedings.)

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 1                MR. EISIG:    I have my copy.                  I marked it.       I

 2     apologize.

 3                THE COURT:    I'm sorry.             We can't work off your copy if

 4     it's marked up.

 5          (Pause in proceedings.)

 6                MS. LEVY:    Your Honor, I only have my own copy too,

 7     with handwriting all over it.               Otherwise, I would offer it for

 8     your benefit.

 9                MR. EISIG:    I just marked the first two pages

10     slightly, just with the numbering of the case law, nothing

11     other than that.

12                THE COURT:    No.      I'm not looking at something that's

13     been marked up by an attorney.                I'm not going to create

14     record -- a record error in the case.

15                All right.   I'll just have to listen.

16                MR. EISIG:   Okay.         For the record, the responses --

17     the second request was for all statements taken of the

18     Plaintiff.    And the Defendant objected as work product,

19     attorney-client privilege, and irrelevant.                            And then --

20                THE COURT:    Sorry.         This is a claim for what, for

21     Irma?

22                MR. EISIG:    Yes, Your Honor.

23                THE COURT:    Okay.        All right.              And how does the

24     insurance company do this thing?                  Do they ask for whatever that

25     is that the -- that affidavit of proof or something that it's

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 1     called?    Is that how they operate?

 2                MR. EISIG:    I'm not sure I understand.                      You mean --

 3                THE COURT:    Generally, insurance companies ask for an

 4     affidavit of proof.

 5                MR. EISIG:    Oh, yes.           A proof of loss.

 6                THE COURT:    Right.         That's what I meant.

 7                MR. EISIG:    Right.

 8                THE COURT:    Proof of loss.

 9                Okay.   And they won't provide that with you?

10                MR. EISIG:    They won't provide --

11                THE COURT:    You -- you wrote that.                       So -- so why do

12     you need it from them, the proof of loss?

13                MR. EISIG:    Well, we need the statements that they're

14     taking.    Not only have they, you know, asserted affirmative

15     defenses, they're making all kinds of claims about what our

16     client has said.     So we're -- we're requesting from them the

17     statements, and they're just using boilerplate objections

18     saying that that's their own work product and attorney-client

19     privilege.

20                THE COURT:    I'm sorry.             How -- Ms. Levy, how does this

21     insurance company go about things?                     After getting the proof of

22     loss, they what?     Do they interview or depose the -- I imagine

23     the principal of the condo association?

24                MS. LEVY:    Your Honor, if I may.

25                The request is -- for number 2 is:                         "All statements

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 1     taken of the Plaintiff."          It's not related to any sworn

 2     statement and proof of loss or limited to any examination under

 3     oath, per the policy.       It simply says:                   "All statements taken

 4     of the Plaintiff."     And Defendants have objected on various

 5     objections, not just work product and attorney-client, but

 6     rather, work product, attorney-client, claim file materials

 7     that would be irrelevant in a first-party breach of contract

 8     case, irrelevant, or the relevancy, given that there is no bad

 9     faith count, any statements that could have been given by the

10     Plaintiff in conversation to our consulting experts.                        We also

11     raised that as an objection, as well as the underwriting file,

12     which is a big objection on pretty much every single one of

13     these requests, Your Honor.             So you'll see a theme running

14     through it.

15                By saying "all statements," it's not limited to by

16     who, when, where, before the loss, before the policy was -- you

17     know, the inception of the policy, and so on.                         So we -- we

18     objected on all of those grounds.                   So there's no procedure, to

19     answer your question more directly, Your Honor, that we -- the

20     insurance companies or the carriers would follow because this

21     doesn't even have any information regarding a proof of loss.

22     It's not asking about statements taken after a proof of loss

23     was submitted or after one was requested.

24                So to clarify, we objected on all of those grounds

25     because it doesn't ask -- it's not asking for anything specific

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 1     and we don't know with any specificity how to respond.                     If

 2     there's none, there's none.             But if it's pre-suit, pre-policy

 3     inception, post-loss -- and what kind of statements, a sworn

 4     statement or something in a conversation?

 5                I'm not sure what counsel is referencing as far as any

 6     allegations by the Defense in its answer and affirmative

 7     defenses as to statements made by the Plaintiff.                      I'm not aware

 8     of that.    If there is something specific, I'm happy to address

 9     it.    But I am not aware of that.

10                And so our -- our objections are more than just work

11     product and attorney-client.              It's -- it goes across the entire

12     board.

13                THE COURT:   I don't see how you can have

14     attorney-client privilege vis-a-vis the Plaintiff, but let me

15     see.

16                Is the genesis of this an affirmative defense, did you

17     say?   I'm looking at them here.

18                MR. EISIG:   Well, they're claims about -- in terms of

19     how the policy has been adhered to.                     They're making claims

20     regarding the Plaintiff's adherence to the policy -- in your

21     affirmative defenses.       So we require all statements that they

22     have that would go to prove that.

23           (Pause in proceedings.)

24                THE COURT:   Sorry.          I'm looking at the -- there's a

25     counterclaim, right?

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 1                MS. LEVY:    Yes, Your Honor.

 2                MR. EISIG:   And those same allegations are made in the

 3     counterclaim as well.

 4                THE COURT:   Well, obviously, if you -- if you have --

 5     if you have a question or a request for production that simply

 6     is overly broad, then that needs to be narrowed.

 7                Usually, what I do at these hearings is I try to

 8     narrow it so that we can resolve the dispute and move along.

 9     But I'm still trying to find Defendant's answer.

10          (Pause in proceedings.)

11                THE COURT:   Defendant's answer.                       Here we go.

12          (Pause in proceedings.)

13                THE COURT:   So I'm scrolling down the answer to the

14     affirmative defenses to see where this is linked to.

15                All right.   First affirmative defense, deductible;

16     second, preexisting; third, excluded; fourth, faulty planning,

17     whatever, whatever, remodeling.

18                Snow in Miami?       That's funny.

19          (Pause in proceedings.)

20                THE COURT:   Is this the one:                    Failed to comply with

21     the policy's duties?      Is this the one that you're hanging your

22     hat on, the ninth one?

23                MR. EISIG:   Yes.        But it also refers to preexisting

24     claims, or exclusion, the applicability of that by statements.

25                THE COURT:   Not preexisting claim.                        Preexisting --

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  1               MR. EISIG:    Damages.

  2               THE COURT:    -- damages.

  3               MR. EISIG:    Right.

  4               THE COURT:    All right.             So -- so is there some kind of

  5     adjustor that went to investigate this claim?

  6               MS. LEVY:    Yes, Your Honor.                  After the claim was

  7     reported --

  8               THE COURT:    Uh-huh.

  9               MS. LEVY:    -- we did have more than one adjustor that

 10     went out to inspect the property once notice was received, yes.

 11               THE COURT:    Okay.        And are you trying to get the

 12     interaction between the principal of the condo association and

 13     the adjustor?    Is that what you're trying to get at?

 14               MR. EISIG:    The statements that the Plaintiff has --

 15     that support their claims, what they have as a record.

 16               And these are -- these are matters that were done

 17     before the filing of the lawsuit.                  So ...

 18               THE COURT:    Yeah.        But investigating the claim.              As

 19     soon as they know that there's a claim, then their work product

 20     privilege kicks in.

 21               MR. EISIG:    Right.         But the knowledge of the claim

 22     would be when the suit was filed.                  And that would be in

 23     February.

 24               THE COURT:    No.      When demand was made, right?             When

 25     was demand made, right after Irma?

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  1                MS. LEVY:    Yeah.       I believe it was -- the public

  2     adjustor's first notice to the Defendants was within a month,

  3     about a month after the storm.

  4                THE COURT:    And then your own adjustors went out.

  5                MS. LEVY:    Correct.

  6                THE COURT:    Yeah.        You can't get into the

  7     adjustor's -- that's -- the adjustor is an agent of the

  8     Plaintiff.

  9                MR. EISIG:    But the --

 10                THE COURT:    I would imagine that --

 11                MR. EISIG:    They have independent obligations.                   And

 12     work product and privilege would attach from the time that they

 13     were aware of suit.      And that would be from when the suit was

 14     filed.   Prior, we're entitled to that discovery.

 15                THE COURT:    Let me hear from Ms. Levy.                   What is your

 16     position on that?      When does the work product, in your view,

 17     kick in?

 18                MS. LEVY:    Well, twofold, Your Honor.                    First, I -- I'm

 19     not following -- and I apologize to Court and to counsel -- as

 20     to the argument being made by counsel regarding statements.

 21     It's statements of the Plaintiff.                   So anything my adjustor or

 22     adjustors may have said --

 23                THE COURT:    No.      No.       Statements by the Plaintiff, not

 24     by the adjustor, right?

 25                MR. EISIG:   Right.

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  1               MS. LEVY:    Yes, Your Honor.                  It says:    "Statements

  2     taken of the Plaintiff."

  3               THE COURT:    Correct.

  4               MS. LEVY:    As far as any work product would be

  5     concerned, it's not at the time suit is filed.                       It is from the

  6     anticipation of litigation, which in this matter was the first

  7     notice by the public adjusting firm, which was the only notice

  8     received, and that was from the public adjustor.                      And then

  9     there was also a civil remedy notice filed with the Department

 10     of Financial Services thereafter, and then the suit.

 11               So regardless of whether there is any anticipation of

 12     litigation, I still -- I can't -- I'm having a hard time with

 13     how broad it is to even say whether -- whether there were any

 14     statements.    If it's a written statement, a recorded statement,

 15     a statement under oath, I could answer that and tell the Court

 16     as an officer the Court that there are none of those types of

 17     statements.    But it's just -- it's not asking for that very

 18     specifically.

 19               THE COURT:    Okay.        All right.              I'm going to sustain

 20     the objection there on the multiple grounds that have been

 21     asserted, but mainly on the work product because -- once the

 22     adjustor comes and makes inquiries.

 23               Now, if you have a proof of claim, obviously, that is

 24     not protected.    That is something that the -- have you -- I

 25     mean, but the Plaintiff himself did the proof of claim.                      I

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  1     don't know why they need to get it from you.

  2               MS. LEVY:    Well, interestingly enough, Your Honor,

  3     later on in these requests --

  4               THE COURT:    All right.

  5               MS. LEVY:    -- they ask for all documents that the

  6     Plaintiff gave the Defendants.

  7               THE COURT:    All right.

  8               MS. LEVY:    Which of course, they would have.

  9               THE COURT:    Okay.        All right.

 10               What else are you looking for?

 11               MR. EISIG:    Okay.        Well, I mean, here, the Defendant

 12     themselves had said that to the extent it wasn't a privileged

 13     document they would provide the documentation.                       So I want at

 14     least those documents that are statements of the Plaintiff that

 15     they're not claiming are privileged.

 16               THE COURT:    Well, if you're claiming privilege, the

 17     thing is you don't need a privilege log once the lawsuit

 18     starts.   So whatever privilege is being claimed for pre-suit,

 19     you have to serve a privilege log, which it sounds to me like

 20     you haven't.

 21               MS. LEVY:    No, Your Honor.                 And that was part of the

 22     reason of the motion to continue the hearing, was we found out

 23     there was perhaps additional claim file documents.                      And yes, a

 24     privilege log should have been served back in May when this

 25     was -- when this was served.             I agree with the Court.           But we

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  1     will be getting one today.           I actually made the offer to

  2     counsel today that if I got IT to him today -- whether they

  3     would agree.    Obviously, we had the motion pending before Your

  4     Honor and it's ultimately the Court's decision.                           But we will

  5     have a privilege log with everything.

  6               THE COURT:    All right.             So you need to serve your

  7     privilege log.    How soon can you do it?

  8               MS. LEVY:    We can have it by the end of the week, Your

  9     Honor, if that's okay.

 10               THE COURT:    By Friday the 5th?

 11               MS. LEVY:    Yes.

 12               THE COURT:    Okay.        And then have you produced any

 13     documents at all?

 14               MS. LEVY:    No.     And that will also be coming at the

 15     same time.

 16               THE COURT:    And why haven't you produced any

 17     documents?

 18               MS. LEVY:    I wish I could answer the Court with

 19     anything other than -- and I hate doing this, but I wasn't

 20     handling that part of the discovery, but -- and that's no

 21     excuse.   And I know that, Your Honor.                     I think it was because

 22     we were waiting for the remainder of the file.                           And now we have

 23     it.   And -- and actually, we just got it.                           So every --

 24     everything from both portions of the file will be produced

 25     immediately.

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  1                THE COURT:   All right.             So produced by Friday also.

  2                MS. LEVY:    Okay.

  3                THE COURT:   All right.             What else?

  4                MR. EISIG:   Well, those were two items that we had

  5     respectfully requested a waiver on that they failed to produce

  6     it for all this time, that they shouldn't be entitled to

  7     produce it at such a late date.

  8                THE COURT:   Yeah.        But a waiver of privilege is pretty

  9     strong.    I'm not going to impose that kind of a -- of a -- of a

 10     penalty.

 11                MR. EISIG:   I respect that.

 12                THE COURT:   You -- you can -- you can contest the

 13     privilege log claims.      We can address those once you get that

 14     privilege log.

 15                MR. EISIG:   Okay.        I just also want to address with

 16     the Court we've had significant issues with communications.

 17     We've attempted numerous times -- I put it in our objection to

 18     rescheduling the hearing -- five times just to get this

 19     hearing.    Before that, we've had dozens of communications,

 20     literally over a dozen on the scheduling order and getting

 21     dates.

 22                To date, we have one date for deposition for the

 23     several that we're scheduling.               This is a recurring pattern;

 24     not getting any discovery and then having to ask for a hearing

 25     and then being blocked.        We were literally blocked for days on

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  1     end because they refused to schedule it.

  2               We just don't appreciate that we have to expend so

  3     much effort and cost.      We had to unilaterally schedule the

  4     scheduling order and continuously have to provide notice of

  5     emails and calls.

  6               So we really feel that it's not fair that -- the cost

  7     and expenses that we're bearing because of the inability to get

  8     compliance on the Defendant's part.

  9               THE COURT:    Ms. Levy, what's your answer to that?                       I

 10     thought you hinted at it, that apparently this wasn't being

 11     managed properly before?

 12               MS. LEVY:    Well, first and foremost, Your Honor, as

 13     far as the scheduling is concerned -- and I'm going to just say

 14     it -- because they call us five times a day or they email us

 15     five times a day doesn't mean we're ignoring the emails.                       They

 16     just want a response within a five-minute turnaround.                       And in a

 17     perfect world, I wish I could say that can happen.                       But

 18     everybody's busy.     I know they're busy.                     I know we're busy.    So

 19     it's no intent to ignore them in any way, shape, or form.

 20               Also, the scheduling order wasn't issued by the Court

 21     until June 24th and our initial disclosures for both sides

 22     haven't been exchanged as of today.                    We did mutually agree on

 23     one of the corporate representative's depositions.                       The other

 24     one's being worked on right now.                 We should have a date

 25     hopefully by the end of today or tomorrow for Lloyds.

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  1               THE COURT:    Okay.        So when is the one that you have

  2     agreed to?

  3               MS. LEVY:    The corporate representative of Rockhill

  4     will take place on August 29th.

  5               THE COURT:    August 29th?

  6               MS. LEVY:    Yes, Your Honor.

  7               THE COURT:    Okay.        And when will you have a date for

  8     the second one?

  9               MS. LEVY:    I believe -- I mean, we were in

 10     communication last week and this morning as well.                    I hope to

 11     have a date in the next day, hopefully.

 12               I mean, everyone's --

 13               THE COURT:    I'm going to give you that same Friday the

 14     5th deadline --

 15               MS. LEVY:    Okay.

 16               THE COURT:    -- for a date for second corporate rep.

 17               MR. EISIG:    Adjustor?

 18               THE COURT:    Well, whoever.

 19               MS. LEVY:    I believe you requested the corporate

 20     representative of Lloyds.

 21               MR. EISIG:    Oh, of -- yes.                 Of the other Defendant.

 22     Absolutely.

 23               THE COURT:    Date for second corporate rep by Friday.

 24               MS. LEVY:    Okay.       Thank you, Your Honor.

 25               THE COURT:    Okay.        What else can I assist you with,

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  1     Mr. Eisig?

  2               MR. EISIG:    Okay.        And I would just ask that the

  3     responses be -- rather than the boilerplate form that have been

  4     used -- I don't believe that these are responses that are

  5     appropriate for this Court.            I would ask that they revise their

  6     responses to be more appropriate, in terms of, you know,

  7     especially -- we asked for dates and times of when the property

  8     was inspected and we got the same attorney-client privilege.

  9               THE COURT:    That's not protected.

 10               MS. LEVY:    That's not protected, Your Honor.                 I -- I

 11     concede that the attorney-client privilege would not apply to

 12     that.   However, they asked for certain documents regarding

 13     dates and times that the property was inspected.                     Well, that's

 14     sort of disingenuous to the extent that Plaintiff opened up the

 15     property for my consultants or my client's consultants or

 16     adjustors to inspect.      They were coordinated with Plaintiff and

 17     its public adjustor.     There are other requests in this Request

 18     for Production asking for all communications between the

 19     Plaintiff and Defendants.          Again, that's something they would

 20     have and would have knowledge of.

 21               I agree about the attorney-client privilege, Your

 22     Honor, and we will amend that to make sure that any documents

 23     that that does not apply to, it will be removed.

 24               THE COURT:    All right.             So you will amend your

 25     responses to the Request for Production with specific

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  1     objections, if appropriate, and produce everything else.

  2               MR. EISIG:    And that will also be done by the 5th?

  3               THE COURT:    Yeah.        Because she will be producing by

  4     the 5th also.

  5               Okay.   Let's hope this case gets back on track.

  6               MR. EISIG:    And as far as the costs to have to come to

  7     court?

  8               THE COURT:    I will not do them at this point in time.

  9     But I will caution Defense counsel that if they don't get this

 10     discovery going, I will not look favorably on you if the

 11     Plaintiff needs to come back to court.

 12               All right.    Thank you.

 13               MS. LEVY:    Understood, Your Honor.

 14               Thank you.

 15               MR. EISIG:    Understood, Your Honor.

 16               Thank you.

 17               COURTROOM DEPUTY:          Court's adjourned.

 18         (Proceedings concluded at 1:53 p.m.)

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                                                                             20


  1     UNITED STATES OF AMERICA                 )

  2     ss:

  3     SOUTHERN DISTRICT OF FLORIDA             )

  4                             C E R T I F I C A T E

  5                I, Yvette Hernandez, Certified Shorthand Reporter in

  6     and for the United States District Court for the Southern

  7     District of Florida, do hereby certify that I

  8     transcribed the digitally-recorded proceedings had the 1st day

  9     of July, 2019, in the above-mentioned court; and that the

 10     foregoing transcript is a true, correct, and complete

 11     transcript of the digital recording.

 12                I further certify that this transcript contains pages

 13     1 - 20.

 14                IN WITNESS WHEREOF, I have hereunto set my hand at

 15     Miami, Florida this 11th day of October, 2019.

 16

 17                            /s/Yvette Hernandez
                               Yvette Hernandez, CSR, RPR, CLR
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